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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------X
GOVERNMENT EMPLOYEES INSURANCE
COMPANY, GEICO INDEMNITY COMPANY, GEICO
GENERAL INSURANCE COMPANY, and GEICO
CASUALTY COMPANY,                                                        Docket No.: _____(       )

                                          Plaintiffs,

           -against-                                                     Plaintiffs Demand a Trial
                                                                         by Jury
DINESH VERMA MEDICAL, P.C.,
DINESH VERMA, D.O., and
JOHN DOE DEFENDANTS “1” – “10”,

                              Defendants.
--------------------------------------------X

                                        COMPLAINT

Plaintiffs Government Employees Insurance Company, GEICO Indemnity Company, GEICO

General Insurance Company and GEICO Casualty Company (collectively, “GEICO” or

“Plaintiffs”), as and for their Complaint against defendants, Dinesh Verma, D.O., Dinesh Verma

Medical, P.C., and John Doe Defendants “1” - “10” (collectively, “Defendants”) hereby allege as

follows:




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                                 NATURE OF THE ACTION

       1.      This action seeks to recover monies that the Defendants wrongfully obtained from

GEICO by submitting, and causing to be submitted, thousands of fraudulent “No-fault” insurance

charges relating to medically unnecessary, experimental, illusory, and otherwise non-reimbursable

healthcare services, including so-called Nervomatrix Localized Intense Neurostimulation

Therapy/Trigger Point Impedance Imaging (“Nervomatrix LINT/TPII Treatment”) and

Extracorporeal Shockwave Therapy (“ESWT”) allegedly provided to New York automobile

accident victims covered by policies of insurance issued by GEICO (“Insureds”).

       2.      Defendant Dinesh Verma, D.O. (“Dr. Verma”) is a physician who purports to own

Dinesh Verma Medical, P.C. (“Dinesh Verma Medical”) that has billed GEICO approximately $2

million for the Nervomatrix LINT/TPII Treatment and ESWT (collectively, the “Fraudulent

Services.”) Dr. Verma, colluding with John Doe Defendants “1” - “10”, engaged in a scheme to

exploit New York’s No-fault insurance system by using Dinesh Verma Medical to render, or

purport to render, a mix of medically unnecessary, excessive, and experimental services at

multidisciplinary medical clinics that almost exclusively treat “No-fault” insurance patients (the

“No-Fault Clinics”).

       3.      Defendants rendered, or purported to render, the Fraudulent Services at the No-

Fault clinics indiscriminately, without any regard for genuine patient care, and solely based on

their ability to exploit the patients for financial gain. As part of the scheme, Defendants engaged

in illegal referral and kickback arrangements to access a steady stream of patients for Dinesh

Verma Medical so they could then fraudulently bill GEICO and other New York automobile

insurers.




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       4.      In addition to recovering more than $173,000.00 stolen from it by Defendants,

GEICO seeks a declaration that it is not legally obligated to pay reimbursement of more than

$1,708,000.00 in pending No-fault insurance claims for the Fraudulent Services that have been

submitted by or on behalf of Dinesh Verma Medical because:

               (i)     the Fraudulent Services were not medically necessary and were provided –
                       to the extent that they were provided at all – pursuant to pre-determined
                       fraudulent protocols designed solely to financially enrich Defendants, rather
                       than to treat or otherwise benefit the Insureds who purportedly were
                       subjected to them;

               (ii)    Defendants engaged in illegal fee-splitting, kickback, and referral
                       arrangements and, therefore, Dinesh Verma Medical was ineligible to bill
                       for or to collect No-Fault Benefits; and

               (iii)   the billing codes used for the Fraudulent Services by Defendants
                       misrepresented and exaggerated the level and type of services that
                       purportedly were provided in order to inflate the charges submitted to
                       GEICO.

       5.      The Defendants fall into the following categories:

               (i)     Dinesh Verma Medical is a medical professional corporation through which
                       the Fraudulent Services purportedly were performed and billed to insurance
                       companies, including GEICO.

               (ii)    Dr. Verma is a physician licensed to practice medicine in New York who
                       purports to own and control Dinesh Verma Medical and who purports to
                       perform some of the Fraudulent Services.

               (iii)   John Doe Defendants “1” – “10” (the “Management Defendants”) are
                       persons and entities, presently not identifiable, who participated in and
                       furthered the fraudulent scheme perpetrated against GEICO by, among
                       other things, assisting with the operation of Dinesh Verma Medical and the
                       provision of medically unnecessary services, engaging in illegal financial
                       and kickback arrangements to obtain patient referrals for Dinesh Verma
                       Medical, and spearheading the pre-determined fraudulent protocols used to
                       maximize profits without regard to genuine patient care.

       6.      As discussed below, Dinesh Verma Medical, Dr. Verma, and the Management

Defendants (collectively, the “Defendants”) at all relevant times have known that: (i) the Fraudulent




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  Services were not medically necessary and were provided – to the extent that they were provided

  at all – pursuant to pre-determined fraudulent protocols designed solely to financially enrich the

  Defendants, rather than to treat or otherwise benefit the Insureds who purportedly were subjected

  to them; (ii) Defendants engaged in illegal fee-splitting, kickback, and referral arrangements and,

  therefore, Dinesh Verma Medical was ineligible to bill for or to collect No-Fault Benefits; and (iii)

  the billing codes used for the Fraudulent Services by Defendants misrepresented and exaggerated

  the level and type of services that purportedly were provided in order to inflate the charges

  submitted to GEICO.

         7.      As such, Defendants do not now have – and never had – any right to be

  compensated for the Fraudulent Services billed to GEICO through Dinesh Verma Medical.

         8.      The chart annexed hereto as Exhibit “1” set forth a representative sample of the

  fraudulent claims for the Fraudulent Services that GEICO has identified to-date that Defendants

  have submitted, or caused to be submitted, to GEICO.

         9.      Defendants’ fraudulent scheme perpetrated against GEICO and other New York

  automobile insurers began as early as 2019 and continues uninterrupted through present day as

  Defendants continue to seek collection on the Fraudulent Services. As a result of Defendants’

  scheme, GEICO has incurred damages of more than $173,000.00.

                                           THE PARTIES

I.       Plaintiffs

         10.     Plaintiffs Government Employees Insurance Company, GEICO Indemnity

  Company, GEICO General Insurance Company, and GEICO Casualty Company are Nebraska

  corporations with their principal places of business in Chevy Chase, Maryland. GEICO is




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   authorized to conduct business and to issue policies of automobile insurance in New York and

   New Jersey.

II.       Defendants

          11.     Defendant Dr. Verma resides in and is a citizen of New York. Dr. Verma was

   licensed to practice medicine in New York on May 18, 2001, and purports to own Defendant

   Dinesh Verma Medical.

          12.     Defendant Dinesh Verma Medical is a New York medical professional corporation,

   incorporated on or about June 27, 2019, with its principal place of business at 51 Atlantic Avenue,

   Floral Park, New York.

          13.     John Doe Defendants “1” - “10” are additional individuals and entities whose

   names are not yet known to GEICO. John Doe Defendants “1” - “10” at all times have participated

   in and furthered the fraudulent scheme perpetrated against GEICO by, among other things,

   assisting with the operation of Dinesh Verma Medical and the provision of medically unnecessary

   services, engaging in illegal financial and kickback arrangements to obtain patient referrals for

   Dinesh Verma Medical, and spearheading the pre-determined fraudulent protocols used to

   maximize profits without regard to genuine patient care.

                                        JURISDICTION AND VENUE

          14.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

   §1332(a)(1) because the matter in controversy exceeds the sum or value of $75,000.00, exclusive

   of interest and costs, and is between citizens of different states.

          15.     Pursuant to 28 U.S.C. § 1331, this Court also has jurisdiction over the claims

   brought under 18 U.S.C. §§ 1961 et seq. (the Racketeer Influenced and Corrupt Organizations

   [“RICO”] Act) because they arise under the laws of the United States.




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         16.        In addition, this Court has supplemental jurisdiction over the subject matter of the

  claims asserted in this action pursuant to 28 U.S.C. § 1367.

         17.        Venue in this District is appropriate pursuant to 28 U.S.C. § 1391, as the Eastern

  District of New York is the District where one or more of the Defendants reside and because this

  is the District where a substantial amount of the activities forming the basis of the Complaint

  occurred.

                           ALLEGATIONS COMMON TO ALL CLAIMS

         18.        GEICO underwrites automobile insurance in New York.

I.       An Overview of the No-Fault Laws and Licensing Statutes

         19.        New York’s no-fault insurance laws are designed to ensure that injured victims of

  motor vehicle accidents have an efficient mechanism to pay for and receive the healthcare services

  that they need.

         20.        Under New York’s Comprehensive Motor Vehicle Insurance Reparations Act

  (N.Y. Ins. Law §§ 5101, et seq.) and the regulations promulgated pursuant thereto (11 N.Y.C.R.R.

  §§ 65, et seq.), automobile insurers are required to provide no-fault insurance benefits (“Personal

  Injury Protection” benefits or “PIP Benefits”) to Insureds.

         21.        In New York, PIP Benefits include up to $50,000.00 per Insured for necessary

  expenses that are incurred for healthcare goods and services.

         22.        In New York, an Insured can assign his/her right to PIP Benefits to healthcare goods

  and services providers in exchange for those goods and services.

         23.        In New York, pursuant to a duly executed assignment, a healthcare provider may

  submit claims directly to an insurance company and receive payment for medically necessary

  services, using the claim form required by the New York State Department of Insurance (known




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as “Verification of Treatment by Attending Physician or Other Provider of Health Service” or,

more commonly, as an “NF-3”).

       24.     In the alternative, in New York a healthcare provider may submit claims using the

Healthcare Financing Administration insurance claim form (known as the “HCFA-1500 form” or

“CMS-1500 form”).

       25.     Pursuant to the New York no-fault insurance laws, healthcare providers are not

eligible to bill for or to collect PIP Benefits if they fail to meet any New York State or local

licensing requirements necessary to provide the underlying services, or if they fail to meet the

applicable licensing requirements in any other states in which such services are performed.

       26.     For instance, the implementing regulation adopted by the New York

Superintendent of Insurance, 11 N.Y.C.R.R. § 65-3.16(a)(12) states, in pertinent part, as follows:

               A provider of healthcare services is not eligible for reimbursement under section
               5102(a)(1) of the Insurance Law if the provider fails to meet any applicable New
               York State or local licensing requirement necessary to perform such service in New
               York or meet any applicable licensing requirement necessary to perform such
               service in any other state in which such service is performed. (Emphasis added).

       27.     In New York physicians are prohibited from “exercising undue influence” on

patients by promoting the sale of services to exploit the patients for financial gain or ordering

excessive tests and treatments not warranted by the condition of the patient. See New York

Education Law § 6530(17) and (35).

       28.     Furthermore, in New York, only a licensed healthcare professional may: (i) practice

the pertinent healthcare profession; (ii) own and control a professional corporation authorized to

operate a professional healthcare practice; (iii) employ and supervise other healthcare

professionals; and (iv) absent statutory exceptions not applicable in this case, derive economic

benefit from healthcare professional services. Unlicensed individuals may not: (i) practice the




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pertinent healthcare profession; (ii) own or control a professional corporation authorized to operate

a professional healthcare practice; (iii) employ or supervise healthcare professionals; or (iv) absent

statutory exceptions not applicable in this case, derive economic benefit from professional

healthcare services.

        29.     New York law prohibits licensed healthcare services providers, including

physicians, from paying or accepting kickbacks in exchange for patient referrals. See, e.g., New

York Education Law §§ 6509-a; 6530(18); and 6531.

        30.     New York law prohibits unlicensed persons not authorized to practice a profession,

like medicine, from practicing the profession and from sharing in the fees for professional services.

See e.g., New York Education Law §6512, §6530 (11), and (19).

        31.     Additionally, New York law requires the shareholders of a professional corporation

to be engaged in the practice of their profession through the professional corporation in order for

it to be lawfully licensed. See, e.g., N.Y. Business Corporation Law § 1507.

        32.     In State Farm Mut. Auto. Ins. Co. v. Mallela, 4 N.Y.3d 313, 320 (2005), the New

York Court of Appeals confirmed that healthcare providers that fail to comply with licensing

requirements are ineligible to collect PIP Benefits, and that insurers may look beyond a facially-

valid license to determine whether there was a failure to abide by state and local law.

        33.     In Andrew Carothers, M.D., P.C. v. Progressive Ins. Co., 33 N.Y.3d 389 (2019) the

New York Court of Appeals reiterated that only licensed physicians may practice medicine in New

York because of the concern that unlicensed physicians are “not bound by ethical rules that govern

the quality of care delivered by a physician to a patient.”

        34.     Pursuant to the New York no-fault insurance laws, only healthcare services providers

in possession of a direct assignment of benefits are entitled to bill for and collect PIP Benefits. There




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is both a statutory and regulatory prohibition against payment of PIP Benefits to anyone other than

the patient or his/her healthcare services provider. The implementing regulation adopted by the

Superintendent of Insurance, 11 N.Y.C.R.R. § 65-3.11, states – in pertinent part – as follows:

                An insurer shall pay benefits for any element of loss … directly to the applicant or
                ... upon assignment by the applicant ... shall pay benefits directly to providers of
                healthcare services as covered under section five thousand one hundred two (a)(1)
                of the Insurance Law …

        35.     Accordingly, for a healthcare services provider to be eligible to bill for and to collect

charges from an insurer for healthcare services pursuant to New York Insurance Law § 5102(a), it

must be the actual provider of the services. Under the New York no-fault insurance laws, a

healthcare services provider is not eligible to bill for services, or to collect for those services from

an insurer, where the services were rendered by persons who were not employees of the healthcare

services provider, such as independent contractors.

        36.     In New York, claims for PIP Benefits are governed by the New York Workers’

Compensation Fee Schedule (the “NY Fee Schedule”).

        37.     When a healthcare provider submits a claim for PIP Benefits using the current

procedural terminology (“CPT”) codes set forth in the NY Fee Schedule, it represents that: (i) the

service described by the specific CPT code that is used was performed in a competent manner in

accordance with applicable laws and regulations; (ii) the service described by the specific CPT

code that is used was reasonable and medically necessary; and (iii) the service and the attendant

fee were not excessive.

        38.     Pursuant to New York Insurance Law § 403, the NF-3 and HCFA-1500 forms

submitted by a healthcare provider to GEICO, and to all other automobile insurers, must be verified

by the healthcare provider subject to the following warning:




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                   Any person who knowingly and with intent to defraud any insurance company or
                   other person files an application for insurance or statement of claim containing any
                   materially false information, or conceals for the purpose of misleading, information
                   concerning any fact material thereto, commits a fraudulent insurance act, which is
                   a crime.

II.       The Defendants’ Fraudulent Scheme

          A.       Overview of the Scheme

          39.      Beginning in 2019 and continuing through the present day, the Defendants

   masterminded and implemented a complex fraudulent scheme in which Dinesh Verma Medical was

   used to bill GEICO and other New York automobile insurers hundreds of thousands of dollars for

   medically unnecessary, experimental, excessive and otherwise unreimbursable healthcare services

   (i.e., the Fraudulent Services) allegedly provided to victims of automobile accidents generally

   suffering soft-tissue, musculoskeletal injuries.

          40.      The Fraudulent Services included so-called (i) Nervomatrix Localized Intense

   Neurostimulation Therapy/Trigger Point Impedance Imaging – i.e., Nervomatrix LINT/TPII

   Treatment -- virtually always resulting in charges of $2,455.00 per session and (ii) Extracorporeal

   Shockwave Therapy – i.e., ESWT – almost always resulting in charges totaling $1,400.78 per

   session. None of these purported services ever played a genuine role in the treatment or care of

   the Insureds.

          41.      As discussed in more detail below, (i) there is no legitimate, peer-reviewed data

   that established the effectiveness of Nervomatrix LINT/TPII Treatment and, in fact, the

   Nervomatrix company itself ceased operations and dissolved and (ii) there is no legitimate, peer-

   reviewed data that established the effectiveness of ESWT for the treatment of back pain or neck




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 pain or other similar musculoskeletal conditions and, in fact, ESWT is considered experimental

 and has not been approved by the FDA for the treatment of such pain.

           42.   Dinesh Verma Medical purports to be a legitimate medical professional corporation

 and healthcare practice but instead operates as part of a large-scale fraud scheme that exploits

 Insureds, as well as insureds of other New York automobile insurers, by providing medically

 unnecessary services.

           43.   Dr. Verma did not operate Dinesh Verma Medical at any single, fixed office

 location, but Defendants instead used Dinesh Verma Medical to operate from various clinics which

 primarily treated No-fault patients (collectively, the “No-Fault Clinics”), where Dinesh Verma

 Medical received steady volumes of patients by accessing the patient base already established at

 each No-Fault Clinic through the payment of kickbacks for patient referrals.

           44.   The Fraudulent Services billed under the name of Dinesh Verma Medical were not

 medically necessary and were provided – to the extent that they were provided at all – pursuant to

 pre-determined fraudulent protocols designed solely to financially enrich Defendants, rather than to

 treat or otherwise benefit the Insureds, and were further provided pursuant to the dictates of

 unlicensed laypersons in contravention of New York law.

           B.    Illegal Kickback and Referral Relationships

           45.   Dr. Verma did not market the existence of Dinesh Verma Medical to the general

 public.

           46.   Dr. Verma did not advertise for patients, never sought to build name recognition or

 make any legitimate efforts of his own to attract patients on behalf of Dinesh Verma Medical.

           47.   To effectuate the scheme, Dr. Verma colluded with the Management Defendants to

 operate Dinesh Verma Medical on an indiscriminate basis, arbitrarily rendering or purporting to




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 render various medically unnecessary, experimental, and excessive healthcare services – solely to

 exploit patients for financial gain.

         48.     Dr. Verma did not establish a practice at the various clinics from which Dinesh

 Verma Medical operated, but rather “walked” into the No-Fault Clinics which had their own, pre-

 existing patient bases, pursuant to arrangements made by the Management Defendants.

         49.     Dr. Verma had no genuine doctor-patient relationship with the Insureds that visited

 the No-Fault Clinics, as the patients had no scheduled appointments with Dinesh Verma Medical.

         50.     The Insureds that were subjected to services by Dinesh Verma Medical, to the

 extent any actual services were provided, were simply directed by the No-Fault Clinics to subject

 themselves to whatever treatment or service was being rendered, or purported to be rendered, by

 Dinesh Verma Medical that day, regardless of whether there was any legitimate need for healthcare

 services.

         51.     Initially, after Dinesh Verma Medical was incorporated in 2019, the Defendants

 caused Dinesh Verma Medical to commence operations at No-Fault Clinics located at 3239 Route

 112, Medford, New York, (the “3239 Route 112 Clinic”), 2799 Route 112, Medford, New York

 11763 (the “2799 Route 112 Clinic”) and 164-06 Northern Boulevard, Flushing, New York

 (“Northern Boulevard Clinic”).

         52.     In or about September 2019 Dinesh Verma Medical, under the control of the

 Management Defendants, began rendering and billing the same treatment for virtually every Insured,

 including Nervomatrix LINT/TPII Treatment.

         53.     Thereafter, under the control of the Management Defendants, in or about July 2020,

 Dinesh Verma Medical abruptly stopped rendering Nervomatrix LINT/TPII Treatment and in or




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 about the fall of 2020 began treating patients with ESWT at the No-Fault Clinics, including a new

 clinic located at 160 Old Country Rd, Riverhead, New York (“Riverhead Clinic”).

         54.    From in or about the fall of 2020 to February 2022, virtually every bill submitted to

 GEICO by Dinesh Verma Medical has been for ESWT at the No-Fault Clinics.

         55.    Dinesh Verma Medical suddenly stopped billing GEICO entirely in February 2022,

 yet Defendants continue to pursue collection from GEICO on the pending fraudulent billing for

 purported services allegedly rendered at the No-Fault Clinics.

         56.    Insureds at the No-Fault Clinics were subjected to predetermined treatment protocols,

 regardless of the actual medical needs of the individual Insureds, in order to bill for the medically

 unnecessary services that were provided (or purported to be provided) by Dinesh Verma Medical

 and the other medical providers at the No-Fault Clinics.

         57.    Unlicensed laypersons, rather than the healthcare professionals working at the No-

 Fault Clinics, cultivated and controlled the patient bases at these No-Fault Clinics and designed the

 fraudulent treatment and billing protocols used to maximize profits without regard to actual patient

 care.

         58.    Notably, the other healthcare providers located at the No-Fault Clinics from where

 Dinesh Verma Medical operated, including entities to whom Dinesh Verma Medical paid rent, have

 been the subject of affirmative fraud litigation commenced by insurers or findings of professional

 misconduct.

         59.    For example, David Dynof, M.D. (“Dr. Dynof”) treated patients at the 2799 Route

 112 Clinic and, upon information and belief, referred Insureds to Dinesh Verma Medical for the

 Fraudulent Services. Dr. Dynof has a history of professional misconduct which resulted in discipline

 from the New York State Board for Professional Medical Conduct (the “New York State Board”)




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 that included a thirty-six-month period of probation for – among other things – rendering medically

 unnecessary services.

        60.     In addition, Dr. Verma paid “rent” at the 3239 Route 112 Clinic to Todd Goldman,

 D.C. (“Goldman”). Goldman was sued for engaging in a fraudulent scheme in which, in exchange

 for illegal compensation, he prescribed medically unnecessary durable medical equipment and

 orthotic supplies. See Government Employees Insurance Company et al v. Elite Medical Supply of

 New York, LLC et al., 17-cv-03904 (JFB) (SIL) (E.D.N.Y. 2017).

        61.     Defendants caused Dinesh Verma Medical to enter into illegal financial

 arrangements with the No-Fault Clinics in exchange for the referral of patients who could be

 subjected to the Fraudulent Services.

        62.     The financial arrangements that Dr. Verma and Dinesh Verma Medical entered into

 included payments ostensibly to “rent” space, personnel, or equipment or fees for ostensibly

 legitimate business services. However, these were “pay-to-play” arrangements that amounted to

 kickback payments in exchange for patient referrals to Dinesh Verma Medical for the medically

 unnecessary Fraudulent Services.

        63.     The purported “lease” agreements Dinesh Verma Medical entered into in order to

 “rent space” at the No-Fault Clinics were shams to disguise the payment of kickbacks.

        64.     In keeping with the fact that the “lease” agreements Dinesh Verma Medical entered

 into at the No-Fault Clinics were shams, Dinesh Verma Medical provided no legitimate or necessary

 services to the patients that warranted other providers at the No-Fault Clinics to bring in Dinesh

 Verma Medical to treat the patients.

        65.     In further keeping with the fact that the “lease” agreements Dinesh Verma Medical

 entered into at the No-Fault Clinics were shams, the leases called for payments which were in excess




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 of the fair market value for leasing a small portion of space and/or non-exclusive space shared with

 numerous other healthcare providers.

        66.     In reality, Dinesh Verma Medical made sham payments of “rent” at the No-Fault

 Clinics solely as part of “pay-to-play” arrangements that resulted in Insureds being referred to Dinesh

 Verma Medical at the No-Fault Clinics.

        67.     Driven by the illegal kickbacks, when an Insured visited one of the No-Fault

 Clinics, he or she was automatically referred to the various healthcare providers operating from

 the Clinics, including Dinesh Verma Medical, despite the fact the Fraudulent Services never played

 a genuine role in the treatment or care of the Insureds.

        68.     Absent these “pay-to-play” arrangements, healthcare providers operating at the No-

 Fault Clinics had no legitimate reason to refer Insureds to Dinesh Verma Medical since Dinesh

 Verma Medical provided no legitimate or necessary healthcare services to the Insureds.

        69.     The amount of the kickbacks paid by Defendants generally was based on the volume

 of Insureds that were steered to Dinesh Verma Medical for the medically unnecessary Fraudulent

 Services.

        70.     The unlawful kickback and referral arrangements were essential to the success of

 Defendants’ fraudulent scheme. Defendants derived significant financial benefit from the

 relationships because without access to the Insureds, Defendants would not have the ability to

 execute the fraudulent treatment and billing protocol and to bill GEICO and other insurers huge sums

 for the Fraudulent Services.

        71.     Furthermore, the Defendants would not have had access to the No-Fault Clinics and

 the Insureds but for the payment of kickbacks.




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           72.      The Defendants at all times knew that the kickback and referral arrangements were

   illegal and therefore took affirmative steps to conceal the existence of the fraudulent referral scheme.

III.       The Defendants’ Fraudulent Treatment and Billing Protocols

           73.      As part of their scheme to defraud, the Defendants rendered, or purported to render,

   a mix of medically unnecessary, excessive, and experimental services using fraudulent treatment

   and billing protocols to bill GEICO and the New York automobile insurance industry egregious

   amounts for performance of the Fraudulent Services.

           74.      Virtually all the Insureds whom Dinesh Verma Medical purported to treat were

   involved in relatively minor, “fender-bender” accidents, to the extent that they were involved in

   any actual accidents at all. Concomitantly, virtually none of the Insureds whom Dinesh Verma

   Medical purported to treat suffered from any significant injuries or health problems as a result of

   the relatively minor accidents they experienced or purported to experience.

           75.      Nevertheless, Dinesh Verma Medical, in accordance with e pre-determined

   fraudulent treatment and billing protocols, subjected Insureds to illusory, experimental, and

   medically unnecessary healthcare services regardless of the severity of the Insureds’ injuries (or

   lack thereof).

           76.      The treatments were administered pursuant to a pre-determined treatment protocol

   designed to maximize the billing that Defendants could submit to insurers, including GEICO,

   rather than to treat or otherwise benefit the Insureds who were subjected to them.

           77.      As part of the scheme, Dinesh Verma Medical purported to subject the Insureds to

   the Fraudulent Services without regard for the Insureds’ individual symptoms or presentation, or

   the absence of any medical problems arising from any actual automobile accidents.




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        78.     During the times Dinesh Verma Medical was providing Nervomatrix LINT/TPII

 Treatment at the No-Fault Clinics, it did not perform a variety of treatments and services. Rather,

 Nervomatrix LINT/TPII Treatment comprised approximately 100% of the total billing submitted

 to GEICO by Dinesh Verma Medical.

        79.     Similarly, during the times Dinesh Verma Medical was performing ESWT at the

 No-Fault Clinics, it did not perform a variety of treatments and services, rather ESWT comprised

 approximately 100% of the total billing submitted to GEICO by Dinesh Verma Medical, along

 with sporadic evaluations on the same day as the ESWT.

        80.     Dr. Verma permitted the fraudulent treatment and billing protocol described below

 to proceed under his auspices solely to maximize profits and exploit Insureds for financial gain.

        A.      The Fraudulent Charges for Nervomatrix LINT/TPII Treatment

        81.     Dinesh Verma Medical purported to subject Insureds to medically unnecessary

 Nervomatrix LINT/TPII Treatments using a device created by a company called Nervomatrix (the

 “Nervomatrix Device”).

        82.     The Defendants billed the Nervomatrix LINT/TPII Treatments to GEICO under

 CPT codes 95999 and 99199 -- which codes are used for “unlisted” special services, procedure or

 reports – because there is no listed CPT code for Nervomatrix LINT/TPII Treatments.

        83.     The Defendants’ charges to GEICO using the unlisted codes virtually always

 resulted in a charge of $2,455.00 per session of Nervomatrix LINT/TPII Treatment.

        84.     The Defendants’ charges for the Nervomatrix LINT/TPII Treatments were

 fraudulent in that the Nervomatrix LINT/TPII Treatments were medically useless and were

 provided, to the extent they were provided at all, solely in order to maximize the billing submitted

 to GEICO.




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         85.       What is more, the Defendants’ charges for the Nervomatrix LINT/TPII Treatments

 were fraudulent in that they misrepresented the nature of the service provided by the Nervomatrix

 LINT/TPII Treatment and, by extension, misrepresented the reimbursement to which Dinesh

 Verma Medical was entitled.

         86.       Additionally, the charges for the Nervomatrix LINT/TPII Treatments were

 fraudulent in that the Nervomatrix LINT/TPII Treatments were medically unnecessary and were

 performed – to the extent that they were performed at all – pursuant to the kickbacks Dinesh Verma

 Medical paid to unlicensed laypersons who controlled the patients bases at the No-Fault Clinics.

         87.       Nervomatrix’s Device purported to use proprietary technology that allegedly both

 diagnosed and treated trigger points, but there has never been any reliable, peer-reviewed data that

 established the effectiveness of the Nervomatrix Device or Nervomatrix LINT/TPII Treatment. In

 fact, Nervomatrix itself ceased operations and dissolved.

                   (i)    Standard of Care for the Diagnosis and Treatment of Trigger Points

         88.       Trigger points are irritable, painful, taut muscle bands or palpable knots in a muscle

 that can cause localized pain or referred pain that is felt in a part of the body other than that in which

 the applicable muscle is located. Trigger points can be caused by a variety of factors, including direct

 muscle injuries sustained in automobile accidents.

         89.       In a legitimate clinical setting, trigger points are diagnosed as part of a standard

 physical examination based upon pain that results when pressure is applied to a specific area of a

 patient’s body.

         90.       In a legitimate clinical setting, trigger point treatment should begin with conservative

 therapies such as bed rest, active exercises, physical therapy, heating or cooling modalities, massage,

 and basic, non-steroidal, anti-inflammatory analgesic, such as ibuprofen or naproxen sodium.




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         91.     Should an initial course of conservative therapies fail to remediate trigger points,

 trigger point injections may be warranted. Trigger point injections typically involve injections of

 local anesthetic medication into a trigger point. Trigger point injections can relax the area of intense

 muscle spasm, improve blood flow to the affected area, and thereby permit the washout of irritating

 metabolites.

                 (ii)    The Medically Useless LINT/TPII Treatment

         92.     Nervomatrix LINT/TPII Treatment purports to be a two-step process that allegedly

 both diagnoses and treats trigger points. First, the Nervomatrix Device allegedly identifies the most

 clinically relevant active trigger points along a person’s skin by measuring electrical resistance on

 the skin surface, which generates a two-dimensional image of skin impedance. Then a moving row

 of twenty-six miniature probes that touch, but do not penetrate, the skin surface provide electrical

 pulses to the targeted trigger points. These electrical pulses purportedly stimulate the release of

 endorphins to alleviate a patient’s pain.

         93.     In reality, Nervomatrix LINT/TPII Treatment is medically useless for both the

 diagnosis and the treatment of trigger points.

         94.     In keeping with the fact that Nervomatrix LINT/TPII Treatment is medically

 useless for both the diagnosis and the treatment of trigger points, the Nervomatrix Device has

 never been approved by the United States Food and Drug Administration (“FDA”) to be used in

 the diagnosis and treatment of trigger points.

         95.     There are no reliable, peer-reviewed data that establish the effectiveness of the

 Nervomatrix Device and Nervomatrix LINT/TPII Treatment. To the contrary, studies have found

 that the Nervomatrix Device does not actually improve a patient’s back pain and does not result in

 a better outcome than a placebo treatment. Notably, the only published data that contends the




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 Nervomatrix Device is effective in diagnosing and treating trigger points was published in 2011

 by Dr. Miguel Gorenberg, the founder of Nervomatrix – the company that developed and

 manufactured the Nervomatrix Device.

        96.     In further keeping with the fact that Nervomatrix LINT/TPII Treatment is medically

 useless for both the diagnosis and the treatment of trigger points, Nervomatrix ceased operations

 in 2018 and was dissolved on February 17, 2019. In addition, the company’s website,

 www.soleve.com, is no longer operational.

        97.     In keeping with the fact that that Nervomatrix LINT/TPII Treatment is medically

 useless for both the diagnosis and the treatment of trigger points, the American Medical

 Association’s Physicians’ Current Procedural Terminology handbook, which establishes

 thousands of CPT codes for healthcare providers to use in describing their services for billing

 purposes, does not recognize a CPT code for Nervomatrix LINT/TPII Treatment.

        98.     Additionally, in keeping with the fact that the Nervomatrix LINT/TPII Treatment

 was performed pursuant to predetermined treatment protocols designed to maximize billing

 without regard for patient care, at times Dinesh Verma Medical did not conduct medical

 examinations to assess the Insureds’ physical condition prior to administering Nervomatrix

 LINT/TPII Treatment instead performing the Nervomatrix LINT/TPII Treatment pursuant to

 purported referrals from other healthcare providers (the “Referring Providers”).

        99.     Dinesh Verma Medical, however, virtually never identified the Referring Providers

 who referred the Insured for Nervomatrix LINT/TPII Treatment.

        100.    Moreover, Dinesh Verma Medical’s medical records were misleading as they

 submitted letters of medical necessity to GEICO, copies of which are attached as Exhibit “2”,




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 which suggested that the No-Fault Fee Schedule had established some standard of treatment with

 respect to Nervomatrix LINT/TPII Treatment when in fact it had not.

        101.       In keeping with the fact that the Nervomatrix LINT/TPII Treatment is medically

 useless for both the diagnosis and treatment of trigger points and was administered pursuant to a

 predetermined treatment and billing protocol, the putative “results” of the Nervomatrix LINT/TPII

 Treatments purportedly performed by Dinesh Verma Medical: (i) were not incorporated into any

 Insureds’ treatment plans; (ii) played no legitimate role in the overall treatment or care of the

 Insureds; and (iii) had minimal, if any, impact on the Insureds’ levels of back pain. For example,

            (i)       An Insured named DM was allegedly involved in a motor vehicle accident on
                      May 28, 2020. Thereafter he sought treatment at the No-Fault Clinics located
                      at the 2799 Route 112 Clinic. On June 1, 2020, DM underwent a medical
                      examination at DRD Medical with Dr. Dynof at which he reported his lower
                      back pain was a 9/10. Thereafter, Dinesh Verma Medical purported to
                      administer Nervomatrix LINT/TPII Treatments to DM’s lumbar region on July
                      3, 2020, July 17, 2020, July 22, 2020, and August 3, 2020. On August 3, 2020,
                      DM underwent a follow up examination with DRD Medical at which he
                      reported his lower back pain was a 10/10.

            (ii)      An Insured named JS was allegedly involved in a motor vehicle accident on
                      November 1, 2019. Thereafter he sought treatment at the 2799 Route 112
                      Clinic. On December 2, 2019, JS underwent a medical examination at DRD
                      Medical with Dr. Dynof at which he reported his lower back pain was a 9/10.
                      Thereafter, Dinesh Verma Medical purported to administer Nervomatrix
                      LINT/TPII Treatments to JS’s lumbar region on December 3, 2019, December
                      10, 2019, December 17, 2019, and December 26, 2019. On December 30, 2019,
                      JS underwent a follow up examination with DRD Medical at which he reported
                      his lower back pain was a 10/10.

            (iii)     An Insured named ZK was allegedly involved in a motor vehicle accident on
                      September 9, 2019. Thereafter she sought treatment at the 2799 Route 112
                      Clinic. On May 6, 2019, ZK underwent a medical examination with DRD
                      Medical with Dr. Dynof at which she reported her lower back pain was a 6/10.
                      Thereafter, Dinesh Verma Medical purported to administer Nervomatrix
                      LINT/TPII Treatments to ZK’s lumbar region on May 19, 2020, May 26, 2020,
                      June 2, 2020, and June 9, 2020. On June 17, 2020, ZK underwent a follow up
                      examination with DRD Medical at which she reported her lower back pain was
                      a 7/10.




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          (iv)    An Insured named RZ was allegedly involved in a motor vehicle accident on
                  June 1, 2019. Thereafter he sought treatment at the 2799 Route 112 Clinic. On
                  July 15, 2019, RZ underwent a medical examination with DRD Medical with
                  Dr. Dynof at which he reported his lower back pain was a 9/10. Thereafter,
                  Dinesh Verma Medical purported to administer Nervomatrix LINT/TPII
                  Treatments to RZ’s lumbar region on November 15, 2019, December 15, 2019,
                  December 27, 2019, and January 16, 2020. On February 3, 2020, RZ underwent
                  a follow up examination with DRD Medical at which he reported his lower back
                  pain was an 8/10.

          (v)     An Insured named ED was allegedly involved in a motor vehicle accident on
                  August 23, 2019. Thereafter she sought treatment at the 2799 Route 112 Clinic.
                  On October 7, 2019, ED underwent a medical examination with DRD Medical
                  with Dr. Dynof at which she reported her lower back pain was a 9/10.
                  Thereafter, Dinesh Verma Medical purported to administer Nervomatrix
                  LINT/TPII Treatments to ED’s lumbar region on October 25, 2019, October
                  31, 2019, November 7, 2019, and November 15, 2019. On December 2, 2019,
                  ED underwent a follow up examination with DRD Medical at which she
                  reported her lumbar pain was a 10/10.

          (vi)    An Insured named LB was allegedly involved in a motor vehicle accident on
                  November 27, 2019. Thereafter she sought treatment at the 2799 Route 112
                  Clinic. On March 2, 2020, LB underwent a medical examination with DRD
                  Medical with Dr. Dynof at which she reported her lower back pain was a 10/10.
                  Thereafter, Dinesh Verma Medical purported to administer Nervomatrix
                  LINT/TPII Treatments to LB’s lumbar region on May 28, 2020, June 10, 2020,
                  June 17, 2020, and June 24, 2020. On August 17, 2020, LB underwent a follow
                  up examination with DRD Medical at which she reported her lumbar pain was
                  a 10/10.

          (vii)   An Insured named RH was allegedly involved in a motor vehicle accident on
                  April 24, 2020. Thereafter he sought treatment at the 2799 Route 112 Clinic.
                  On May 4, 2020, RH underwent a medical examination with DRD Medical with
                  Dr. Dynof at which he reported his lower back pain was a 9/10. Thereafter,
                  Dinesh Verma Medical purported to administer Nervomatrix LINT/TPII
                  Treatments to RH’s lumbar region on May 12, 2020, May 20, 2020, May 27,
                  2020, and June 3, 2020. On June 8, 2020, RH underwent a follow up
                  examination with DRD Medical at which he reported his lower back pain was
                  a 10/10.

          (viii) An Insured named SA was allegedly involved in a motor vehicle accident on
                 October 23, 2019. Thereafter she sought treatment at the 2799 Route 112 Clinic.
                 On December 2, 2019, SA underwent a medical examination with DRD
                 Medical with Dr. Dynof at which she reported her lower back pain was a 4/10.
                 Thereafter, Dinesh Verma Medical purported to administer Nervomatrix
                 LINT/TPII Treatments to SA’s lumbar region on December 19, 2019,
                 December 26, 2019, January 2, 2020, and January 8, 2020. On January 13,



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                         2020, SA underwent a follow up examination with DRD Medical at which she
                         reported her lower back pain was a 5/10.

              (ix)       An Insured named LS was allegedly involved in a motor vehicle accident on
                         November 26, 2019. Thereafter she sought treatment at the 2799 Route 112
                         Clinic. On December 9, 2019, LS underwent a medical examination with DRD
                         Medical with Dr. Dynof at which she reported her lower back pain was an 8/10.
                         Thereafter, Dinesh Verma Medical purported to administer Nervomatrix
                         LINT/TPII Treatments to LS’ lumbar region on December 12, 2019, December
                         20, 2019, December 26, 2019, and January 6, 2020. On January 13, 2020, LS
                         underwent a follow up examination with DRD Medical at which she reported
                         her lower back pain was a 9/10.

        102.         These are only representative examples. In virtually all the claims for Nervomatrix

 LINT/TPII Treatment identified in Exhibit “1”, the putative “results” of the Nervomatrix

 LINT/TPII Treatments purportedly performed by Dinesh Verma Medical: (i) were not

 incorporated into any Insureds’ treatment plan; (ii) played no legitimate role in the overall

 treatment or care of the Insureds; and (iii) had minimal, if any, impact on the Insureds’ levels of

 back pain.

        103.         To create the false appearance that the Nervomatrix LINT/TPII Treatments

 provided quantifiable pain relief for the Insureds who were subjected to them, at the conclusion of

 each Nervomatrix LINT/TPII Treatment session Dinesh Verma Medical often purported to record

 the Insureds’ subjective percentage of pain improvement from their baseline pain.

        104.         An individual’s age, height, weight, general physical condition, location within the

 vehicle, and the location of the impact will all affect whether, how, and to what extent an individual

 is injured in an automobile accident.

        105.         It is extremely improbable – to the point of impossibility – that virtually all Insureds

 who received Nervomatrix LINT/TPII Treatments from the Defendants would experience a

 reduction in pain virtually every time they underwent Nervomatrix LINT/TPII Treatments.




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                (iii)   Defendants’ Billing for Nervomatrix LINT/TPII Treatment

        106.    Even if NERVOMATRIX LINT/TPII TREATMENT had any medical utility –

 which it does not -- at best the NERVOMATRIX LINT/TPII TREATMENT machine treated

 Insureds with electrical stimulation and therefore should be billed to insurance companies at a

 significantly reduced rate, rather than the $2,455.00 per session charge billed by Defendants.

        107.    Dinesh Verma Medical billed the Nervomatrix LINT/TPII services using CPT code

 99199, which is described by the medical fee schedule as an “unlisted special service, procedure

 or report, and CPT code 95999, which is described by the medical fee schedule as “other neurology

 and neuromuscular procedures” and are assigned relative values “by report.”

        108.    Fees for procedures that are assigned “by report” must be justified by the nature,

 extent, and need for the procedure or service, the time, skill, and equipment necessary.

 Furthermore, the reimbursement rate established by the provider should be consistent in relativity

 with other relative value units in the medical fee schedule.

        109.    Inasmuch as LINT Treatment amounts to unattended electrical stimulation, this

 type of electrical stimulation, to the extent it is reimbursable, should be billed under CPT codes

 97014 and 97032 for a total value of $41.40 per thirty-minute treatment session.

        110.    Furthermore, TPII purports to look for trigger points. Practitioners can manually

 look for trigger points or use ultrasound guidance to identify trigger points for the purpose of

 administering trigger point injections. When a practitioner chooses to use ultrasound guidance to

 identify the location of trigger points it is billed under CPT code 76942. Because TPII purports to

 provide a functionally equivalent service to ultrasound guidance, to the extent such ultrasound

 guidance is reimbursable the appropriate fee reimbursement would be $262.91.




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         111.    Therefore, even if there was any basis for Dinesh Verma Medical to bill for

 Nervomatrix LINT/TPII Treatments -- in the absence of peer-reviewed data that establish the

 effectiveness of the treatments using a device from a company that ceased operations and dissolved

 -- the Defendants’ charges misrepresented the nature of the services provided and inflated the

 billing by approximately eight times the amount that was appropriate, to the extent reimbursable

 in the first place.

         112.    Finally, in addition to all of the above, in the claims for Nervomatrix LINT/TPII

 Treatments identified in Exhibit “1”, the charges were fraudulent in that they misrepresented

 Dinesh Verma Medical’s eligibility to collect No-Fault Benefits in the first instance because – as

 a result of the illegal kickback, improper financial arrangements and referral scheme described

 herein – Defendants were not in compliance with relevant laws and regulations governing

 healthcare practice in New York.

         B.      The Fraudulent Charges for ESWT

         113.    Dinesh Verma Medical purported to subject Insureds to medically unnecessary

 ESWT “treatments.”

         114.    Dinesh Verma Medical billed the ESWT to GEICO under CPT Code 0101T, which

 is listed in the Fee Schedule as a “temporary code” identifying emerging technology. Temporary

 codes may become permanent codes or may be deleted during updates of the code set.

         115.    The Defendants’ billing for ESWT through Dinesh Verma Medical under CPT code

 0101T generally resulted in charges of $700.39 for each single treatment, with Dinesh Verma

 Medical typically purporting to provide two units of ESWT per day to each Insured, resulting in

 charges of $1,400.78 per Insured, per day.




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         116.      Dinesh Verma Medical typically billed GEICO for multiple treatment sessions of

 ESWT per Insured resulting in thousands of dollars of charges per Insured, with charges

 occasionally exceeding $25,000.00 per Insured.

         117.      The Defendants’ charges for the ESWT were fraudulent in that the ESWT was

 medically useless and was provided, to the extent it was provided at all, solely in order to maximize

 the billing submitted to GEICO.

         118.      Additionally, the charges for the ESWT were fraudulent in that the ESWT was

 medically unnecessary and was performed – to the extent that it was performed at all – pursuant

 to the kickbacks Dinesh Verma Medical paid to unlicensed laypersons who controlled the patient

 bases at the No-Fault Clinics.

         119.      During the relevant times herein, CPT code 0101T applied to “extracorporeal shock

 wave involving musculoskeletal system, not otherwise specified, high energy”.

         120.      ESWT is a nonsurgical treatment that involves the delivery of high energy shock

 waves to musculoskeletal areas of the body with the purported goal of reducing pain and promoting

 the healing of affected soft tissue.

         121.      During ESWT, the practitioner moves an applicator over a gel-covered treatment

 area. As the applicator is moved over the treatment area, pressure waves that purportedly stimulate

 the metabolism, enhance blood circulation, and accelerate the healing process are released into the

 treatment area.

         122.      Typically, Dinesh Verma Medical purported to perform ESWT on Insureds

 experiencing musculoskeletal pain, including cervical, thoracic, or lumbar spine pain, though at

 times Dinesh Verma Medical administered ESWT to Insureds’ shoulders, hips, or other

 extremities.




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         123.    In a legitimate clinical setting, treatment for back pain and other musculoskeletal

 conditions should begin with conservative therapies such as bed rest, active exercises, physical

 therapy, heating or cooling modalities, massage, and basic, non-steroidal anti-inflammatory

 analgesics, such as ibuprofen or naproxen sodium.

         124.    If that sort of conservative treatment does not resolve the patient’s symptoms, the

 standard of care can include other conservative treatment modalities such as chiropractic treatment,

 physical therapy, and the use of pain management medication. These clinical approaches are well-

 established.

         125.    By contrast, the use of ESWT for the treatment of cervical, thoracic, lumbar,

 shoulder, or knee musculoskeletal conditions is experimental and investigational.

         126.    In keeping with the fact that ESWT for the treatment of cervical, thoracic, lumbar,

 shoulder, or knee musculoskeletal conditions is not a legitimate treatment option, ESWT has not

 been approved by the FDA for the treatment of these musculoskeletal conditions.

         127.    Indeed, the only FDA approved uses for ESWT are the treatment of plantar fasciitis,

 (i.e., heel pain) and lateral epicondylitis (i.e., tennis elbow).

         128.    What is more, there is insufficient peer-reviewed data that establish the

 effectiveness of ESWT for the treatment of cervical, thoracic, lumbar, shoulder, or knee

 musculoskeletal conditions.

         129.    Furthermore, the Centers for Medicare & Medicaid Services has published

 coverage guidance for ESWT stating that further research is needed to establish the efficacy and

 safety of ESWT in the treatment of musculoskeletal conditions; that there is uncertainty associated

 with this intervention; and it not reasonable and necessary for the treatment of musculoskeletal

 conditions and therefore not covered.




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        130.    In keeping with the fact that ESWT for the treatment of musculoskeletal conditions

 is not a legitimate treatment option: (i) Medicare does not consider ESWT reasonable or necessary

 for the treatment of musculoskeletal conditions and therefore does not cover it; (ii) Aetna insurance

 company considers ESWT experimental and investigational for the treatment of low back pain,

 lower limb conditions, and other musculoskeletal indications and, as such, does not cover it; (iii)

 UnitedHealth Group Incorporated does not cover ESWT for the treatment of musculoskeletal or

 soft tissue indications due to insufficient evidence of its efficacy in those applications; (iv) the

 Blue Cross Blue Shield Association does not cover ESWT for the treatment of musculoskeletal

 conditions because it is considered investigational; and (v) Cigna considers ESWT experimental,

 investigational, or unproven for any indication, including the treatment of musculoskeletal

 conditions and soft tissue wounds, and therefore does not cover it.

        131.    Therefore, in the claims for ESWT identified in Exhibit “1”, Dinesh Verma Medical

 falsely represented that the ESWT that it purported to provide to Insureds was medically necessary,

 when in fact it was not.

        132.    As with the other Fraudulent Services, the ESWT was administered pursuant to a

 predetermined fraudulent treatment and billing protocol, designed solely to financially enrich the

 Defendants, rather than to benefit any of the Insureds who supposedly were subjected to the tests.

        133.    At times, Dinesh Verma Medical did not conduct medical examinations to assess

 the Insureds’ physical condition prior to administering ESWT. Instead, the medical examinations

 were conducted after several ESWT treatment sessions.

        134.    To obscure the fact that Dinesh Verma Medical administered ESWT pursuant to a

 predetermined treatment protocol, and illegal, collusive arrangements with Referring Providers,




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 Dinesh Verma Medical virtually never identified the Referring Providers in their billing

 submissions to GEICO.

        135.    In keeping with the fact that the ESWT is medically useless for the treatment of

 back and neck pain or other similar musculoskeletal conditions, the putative “results” of the ESWT

 purportedly performed by Dinesh Verma Medical: (i) were not incorporated into any Insureds’

 treatment plans; (ii) played no legitimate role in the overall treatment or care of the Insureds; and

 (iii) had minimal, if any, impact on the Insureds’ levels of back or extremity pain.

        136.    In fact, Insureds who received ESWT from Dinesh Verma Medical frequently

 failed to undergo any subjective or objective testing to assess whether the ESWT resulted in a

 reduction in pain and/or increased range of motion in the treated area.

        137.    Rather, virtually all medical records generated as a result of the ESWT contained

 preprinted boilerplate language indicating the Insureds experienced some improvement in pain at

 the conclusion of each follow-up ESWT session.

        138.    An individual’s age, height, weight, general physical condition, location within the

 vehicle, and the location of the impact will all affect whether, how, and to what extent an individual

 is injured in an automobile accident.

        139.    The majority of the Insureds whom Dinesh Verma Medical purported to treat were

 involved in relatively minor “fender bender” accidents, to the extent that they were involved in

 any actual accident at all. It is highly improbable that most of these Insureds would achieve some

 amount of pain relief after each session of ESWT regardless of (i) how much pain they were

 purportedly suffering initially; (ii) how long after their accidents they began treatment; and (iii)

 what other “treatments” they were receiving concurrently with the ESWT.




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        140.    In further keeping with the fact that the ESWT provided by Dinesh Verma Medical

 was fraudulent, and rendered pursuant to predetermined protocols, Dinesh Verma Medical used

 preprinted boilerplate language for every patient in his treatment reports regardless of any patient’s

 individual circumstances or where the patient was in the treatment cycle.

        141.     Additionally, Dinesh Verma Medical purported to provide the same frequency of

 treatment, using the same boilerplate language in each ESWT treatment report for Insureds very

 early in the treatment cycle, sometimes within days of the Insured’s accident (without giving the

 patients the opportunity to sufficiently respond to conservative physical therapy) and/or late in the

 treatment cycle (without any consideration or discussion of the patient’s response to other prior

 treatments).

        142.    For example, many Insureds were subjected to the experimental ESWT treatments

 by Dinesh Verma Medical less than 20 days after their accidents. For example:

        (i)     The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named E.R. on December 7, 2021, only four days after the Insured’s
                accident on December 3, 2021.
        (ii)    The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named N.H. on August 3, 2021, only nine days after the Insured’s accident
                on July 25, 2021.
        (iii)   The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named K.L. on November 23, 2021, only four days after the Insured’s
                accident on November 19, 2021.
        (iv)    The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named J.C. on January 13, 2021, only two days after the Insured’s accident
                on January 11, 2021.
        (v)     The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named T.C. on January 13, 2021, only two days after the Insured’s accident
                on January 11, 2021.
        (vi)    The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named P.G. on December 23, 2020, only seven days after the Insured’s
                accident on December 16, 2020.




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        (vii)   The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named R.D. on January 25, 2022, only eleven days after the Insured’s
                accident on January 14, 2022.
        (viii) The Defendants purported to provide ESWT through Dinesh Verma Medical to an
               Insured named C.V. on November 9, 2020, only seven days after the Insured’s
               accident on November 2, 2020.
        (ix)    The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named S.S. on October 5, 2020, only three days after the Insured’s accident
                on October 2, 2020.
        (x)     The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named C.D. on November 2, 2021, only eight days after the Insured’s
                accident on October 25, 2021.
        (xi)    The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named H.F. on November 2, 2021, only eight days after the Insured’s
                accident on October 25, 2021.
        (xii)   The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named S.W. on November 2, 2021, only eight days after the Insured’s
                accident on October 25, 2021.
        (xiii) The Defendants purported to provide ESWT through Dinesh Verma Medical to an
               Insured named E.B. on February 8, 2022, only six days after the Insured’s accident
               on February 2, 2022.
        (xiv)   The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named Z.C. on November 2, 2021, only nine days after the Insured’s
                accident on October 24, 2021.
        (xv)    The Defendants purported to provide ESWT through Dinesh Verma Medical to an
                Insured named E.D. on February 12, 2021, only seven days after the Insured’s
                accident on February 5, 2021.


        143.    In further keeping with the fact that the ESWT treatments purportedly performed

 by Dinesh Verma Medical were not medically necessary and were performed pursuant to

 predetermined protocols to maximize profits, multiple Insureds of different ages and suffering

 different injuries, but involved in the same accident, were purportedly provided same number of

 treatment sessions of ESWT by Dinesh Verma Medical. For example:

        (i)     Two Insureds – H.K. and T.K. were involved in the same automobile accident on
                August 22, 2021. Thereafter, both of these Insureds received two sessions of the
                experimental ESWT.




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        (ii)    Three Insureds – C.D., H.F, and S.W. were involved in the same automobile
                accident on October 25, 2021. Thereafter, all three of these Insureds received four
                sessions of the experimental ESWT.
        (iii)   Two Insureds – B.Y. and B.Z. were involved in the same automobile accident on
                February 20, 2021. Thereafter, both of these Insureds received two sessions of the
                experimental ESWT.
        (iv)    Two Insureds – J.K. and J.N. were involved in the same automobile accident on
                July 16, 2021. Thereafter, both of these Insureds received ten sessions of the
                experimental ESWT.
        (vi)    Two Insureds – W.S. and Y.Z. were involved in the same automobile accident on
                November 15, 2021. Thereafter, both of these Insureds received two sessions of the
                experimental ESWT.


        144.    Moreover, even if Dinesh Verma Medical somehow provided legitimate high

 energy extracorporeal shockwave treatments in compliance with the code requirements – which it

 did not – the Defendants nevertheless inflated the charges permissible for such high energy

 extracorporeal shockwave services.

        145.    For qualifying services, CPT code 0101T allows a single charge for “extracorporeal

 shock wave involving musculoskeletal system, not otherwise specified, high energy.”

        146.    The Defendants, in order to fraudulently inflate the charges to insurers, typically

 billed for multiple charges per day for each Insured based on the number of body parts that were

 provided with extracorporeal shockwave services, rather than billing a single charge for services

 involving the musculoskeletal system.

        147.    In short, the billing for extracorporeal shockwave treatments by Dinesh Verma

 Medical was part of the Defendants’ fraudulent treatment and billing protocol, was designed solely

 to financially enrich the Defendants, and had absolutely nothing to do with genuine patient care.

        148.    Finally, in addition to all of the above, in the claims for ESWT identified in Exhibit

 “1”, the charges were fraudulent in that they misrepresented Dinesh Verma Medical’s eligibility

 to collect No-Fault Benefits in the first instance because – as a result of the illegal kickback,



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  improper financial arrangements and referral scheme described herein – they were not in

  compliance with relevant laws and regulations governing healthcare practice in New York.

IV.      The Fraudulent Billing Defendants Submitted or Caused to be Submitted to GEICO

         149.    To support their fraudulent charges, Defendants systematically submitted or caused

  to be submitted thousands of charges (i.e., bills, NF-3 forms, HCFA-1500 forms) and/or treatment

  reports through Dinesh Verma Medical to GEICO seeking payment for the Fraudulent Services

  for which Defendants were not entitled to receive.

         150.    The bills and treatment reports submitted to GEICO by and on behalf of Dinesh

  Verma Medical were false and misleading in the following material respects:

             •   the Fraudulent Services were not medically necessary and were provided – to the
                 extent that they were provided at all – pursuant to pre-determined fraudulent
                 protocols designed solely to financially enrich the Defendants, rather than to treat
                 or otherwise benefit the Insureds who purportedly were subjected to them;

             •   Defendants engaged in illegal fee-splitting, kickback, and referral arrangements
                 and, therefore, Dinesh Verma Medical was ineligible to bill for or to collect No-
                 Fault Benefits; and

             •   the billing codes used for the Fraudulent Services by Defendants misrepresented
                 and exaggerated the level and type of services that purportedly were provided in
                 order to inflate the charges submitted to GEICO.

V.       Defendants’ Fraudulent Concealment and GEICO’s Justifiable Reliance

         151.    Defendants legally and ethically were obligated to act honestly and with integrity in

  connection with the billing that they submitted, or caused to be submitted, to GEICO.

         152.    To induce GEICO to promptly pay the fraudulent charges for the Fraudulent

  Services, Defendants systemically concealed their fraud.

         153.    Defendants knowingly misrepresented and concealed facts to prevent GEICO from

  discovering that the Fraudulent Services were medically unnecessary and performed pursuant to




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 fraudulent predetermined protocols designed to maximize the charges that could be submitted

 rather than to benefit the Insureds who supposedly were subjected to them.

         154.    Defendants knowingly misrepresented and concealed facts to prevent GEICO from

 discovering that the Fraudulent Services were performed pursuant to illegal kickback and referral

 arrangements.

         155.    Defendants knowingly misrepresented and concealed facts to prevent GEICO from

 discovering that Dinesh Verma Medical engaged in illegal fee splitting with non-physicians in

 violation of New York law.

         156.    In fact, among other things, Defendants rendered, or purported to render, the

 Fraudulent Services at different No-Fault Clinics indiscriminately and at different times in order

 to conceal the volume of billing for any particular service and the volume of billing from any

 particular clinic.

         157.    Additionally, the Defendants entered into complex financial arrangements that

 were designed to, and did, conceal the fact that Defendants unlawfully exchanged kickbacks for

 patient referrals.

         158.    Defendants hired law firms to pursue collection of the fraudulent charges from

 GEICO and other insurers. These law firms routinely filed expensive and time-consuming litigation

 against GEICO and other insurers if the charges were not promptly paid in full.

         159.    Defendants’ collection efforts through numerous separate no-fault collection

 proceedings, which proceedings may continue for years, is an essential part of their fraudulent

 scheme since they know it is impractical for an arbitrator or civil court judge in a single no-fault

 arbitration or civil court proceeding, typically involving a single bill, to uncover or address the




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 Defendants’ large scale-scale, complex fraud scheme involving numerous patients across

 numerous different clinics located throughout the metropolitan area.

        160.    GEICO takes steps to timely respond to all claims and to ensure that No-fault claim

 denial forms or requests for additional verification of No-fault claims are properly addressed and

 mailed in a timely manner. GEICO is under statutory and contractual obligations to process claims

 promptly and fairly within 30 days. The facially valid documents submitted to GEICO in support

 of the fraudulent charges at issue, combined with the material misrepresentations and fraudulent

 litigation activity described above, were designed to, and did, cause GEICO to rely upon them.

        161.    As a result, GEICO incurred damages of more than $$72,130.00 based upon the

 fraudulent charges.

        162.    Based upon Defendants’ material misrepresentations and other affirmative acts to

 conceal their fraud from GEICO, GEICO did not discover and could not reasonably have discovered

 that its damages were attributable to fraud until shortly before it filed this Complaint

                          AS AND FOR A FIRST CAUSE OF ACTION
                                     Against All Defendants
                       (Declaratory Judgment, 28 U.S.C. §§ 2201 and 2202)

        163.    GEICO incorporates, as though fully set forth herein, each and every allegation set

 forth above.

        164.    There is an actual case and controversy between GEICO and the Defendants

 regarding more than $1,708,000.00 in pending fraudulent billing from Dinesh Verma Medical for

 the Fraudulent Services.

        165.    Defendants have no right to receive payment for any pending bills submitted to

 GEICO under the name of Dinesh Verma Medical because the Fraudulent Services were not

 medically necessary and were provided – to the extent that they were provided at all – pursuant to




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 pre-determined fraudulent protocols designed solely to financially enrich the Defendants, rather

 than to treat or otherwise benefit the Insureds who purportedly were subjected to them.

         166.    Defendants have no right to receive payment for any pending bills submitted to

 GEICO under the name of Dinesh Verma Medical because Defendants engaged in illegal fee-

 splitting, kickback, and referral arrangements and, therefore, Dinesh Verma Medical was ineligible

 to bill for or to collect No-Fault Benefits.

         167.    Defendants have no right to receive payment for any pending bills submitted to

 GEICO under the name of Dinesh Verma Medical because the billing codes used for the

 Fraudulent Services by Defendants misrepresented and exaggerated the level and type of services

 that purportedly were provided in order to inflate the charges submitted to GEICO.

         168.    Accordingly, GEICO requests a judgment pursuant to the Declaratory Judgment

 Act, 28 U.S.C. §§ 2201 and 2202, declaring that Defendants have no right to receive payment for

 any pending bills submitted to GEICO under the name of Dinesh Verma Medical.

                                        SECOND CAUSE OF ACTION
                              Against Dr. Verma and the Management Defendants
                                  (Violation of RICO, 18 U.S.C. § 1962(c))

         169.    GEICO incorporates, as though fully set forth herein, each and every allegation in

 the paragraphs set forth above.

         170.    Dinesh Verma Medical, P.C. is an ongoing “enterprise,” as that term is defined in

 18 U.S.C. § 1961(4), that engages in activities which affect interstate commerce.

         171.    Dr. Verma and the Management Defendants knowingly have conducted and/or

 participated, directly or indirectly, in the conduct of Dinesh Verma Medical’s affairs through a

 pattern of racketeering activity consisting of repeated violations of the federal mail fraud statute,

 18 U.S.C. § 1341, based upon the use of the United States mails to submit or cause to be submitted




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 hundreds of fraudulent charges on a continuous basis for more than two years seeking payments

 that Dinesh Verma Medical was not eligible to receive under the No-Fault Laws because: (i) the

 Fraudulent Services were not medically necessary and were provided – to the extent that they were

 provided at all – pursuant to pre-determined fraudulent protocols designed solely to financially

 enrich Defendants, rather than to treat or otherwise benefit the Insureds who purportedly were

 subjected to them; (ii) Defendants engaged in illegal fee-splitting, kickback, and referral

 arrangements and, therefore, Dinesh Verma Medical was ineligible to bill for or to collect No-

 Fault Benefits; and (iii) the billing codes used for the Fraudulent Services by Defendants

 misrepresented and exaggerated the level and type of services that purportedly were provided in

 order to inflate the charges submitted to GEICO.

        172.    Dinesh Verma Medical’s business is racketeering activity, inasmuch as the

 enterprise exists for the purpose of submitting fraudulent charges to insurers. The predicate acts of

 mail fraud are the regular way in which Dr. Verma and the Management Defendants operated

 Dinesh Verma Medical, inasmuch as Dinesh Verma Medical never was eligible to bill for or collect

 No-Fault Benefits, and acts of mail fraud therefore were essential in order for Dinesh Verma

 Medical to function. Furthermore, the intricate planning required to carry out and conceal the

 predicate acts of mail fraud implies a threat of continued criminal activity, as does the fact that the

 Defendants continue to attempt collection on the fraudulent billing submitted through Dinesh

 Verma Medical to the present day. The fraudulent bills and corresponding mailings submitted to

 GEICO that comprise the pattern of racketeering activity identified through the date of this

 Complaint are described, in part, in the chart annexed hereto as Exhibit “1.”

        173.    Dinesh Verma Medical is engaged in inherently unlawful acts, inasmuch as its very

 corporate existence is an unlawful act, considering that it provides no medically necessary or




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 legitimate services and its operation is only possible through its engagement in illegal fee-splitting,

 kickback, and referral arrangements. Dinesh Verma Medical likewise is engaged in inherently

 unlawful acts inasmuch as it continues to attempt collection on fraudulent billing submitted to

 GEICO and other insurers. These inherently unlawful acts are taken by Dinesh Verma Medical in

 pursuit of inherently unlawful goals – namely, the theft of money from GEICO and other insurers

 through fraudulent no-fault billing.

           174.   GEICO has been injured in its business and property by reason of the above-

 described conduct in that it has paid at least $173,000.00 pursuant to the fraudulent bills submitted

 by the Defendants through Dinesh Verma Medical.

           175.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

 attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

 proper.

                                         THIRD CAUSE OF ACTION
                               Against Dr. Verma and the Management Defendants
                                    (Violation of RICO, 18 U.S.C. § 1962(d))

           176.   GEICO incorporates, as though fully set forth herein, each and every allegation in

 the paragraphs set forth above.

           177.   Dinesh Verma Medical, P.C. is an ongoing “enterprise,” as that term is defined in

 18 U.S.C. § 1961(4), that engages in activities which affect interstate commerce.

           178.   Dr. Verma and the Management Defendants are employed by and/or associated

 with the Dinesh Verma Medical enterprise.

           179.   Dr. Verma and the Management Defendants knowingly have agreed, combined and

 conspired to conduct and/or participate, directly or indirectly, in the conduct of Dinesh Verma

 Medical enterprise’s affairs, through a pattern of racketeering activity consisting of repeated




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 violations of the federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United

 States mails to submit or cause to be submitted hundreds of fraudulent charges seeking payments

 that Dinesh Verma Medical was not eligible to receive under the No-Fault Laws because: (i) the

 Fraudulent Services were not medically necessary and were provided – to the extent that they were

 provided at all – pursuant to pre-determined fraudulent protocols designed solely to financially

 enrich the Defendants, rather than to treat or otherwise benefit the Insureds who purportedly were

 subjected to them; (ii) Defendants engaged in illegal fee-splitting, kickback, and referral

 arrangements and, therefore, Dinesh Verma Medical was ineligible to bill for or to collect No-

 Fault Benefits; and (iii) the billing codes used for the Fraudulent Services by Defendants

 misrepresented and exaggerated the level and type of services that purportedly were provided in

 order to inflate the charges submitted to GEICO. The fraudulent bills and corresponding mailings

 submitted to GEICO that comprise the pattern of racketeering activity identified through the date

 of this Complaint are described, in part, in the chart annexed hereto as Exhibit “1.”

           180.   Dr. Verma and the Management Defendants knew of, agreed to, and acted in

 furtherance of the common and overall objective (i.e., to defraud GEICO and other insurers of

 money) by submitting or facilitating the submission of the fraudulent charges to GEICO.

           181.   GEICO has been injured in its business and property by reason of the above-

 described conduct in that it has paid at least $173,000.00 pursuant to the fraudulent bills submitted

 by the Defendants through Dinesh Verma Medical.

           182.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

 attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

 proper.




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                                  FOURTH CAUSE OF ACTION
               Against Dinesh Verma Medical, Dr. Verma, and the Management Defendants
                                  (Common Law Fraud)

        183.    GEICO incorporates, as though fully set forth herein, each and every allegation in

 the paragraphs set forth above.

        184.    Dinesh Verma Medical, Dr. Verma, and the Management Defendants intentionally

 and knowingly made false and fraudulent statements of material fact to GEICO and concealed

 material facts from GEICO in the course of their submission of hundreds of fraudulent bills seeking

 payment for the Fraudulent Services.

        185.    The false and fraudulent statements of material fact and acts of fraudulent

 concealment include: (i) in every claim, the representation that the billed-for services were

 medically necessary and properly billed in accordance with the Fee Schedule, when in fact the

 billed-for services were not medically necessary and were performed and billed pursuant to

 predetermined, fraudulent protocols without regard to genuine patient care; (ii) in every claim, the

 representation that Dinesh Verma Medical was properly licensed and, therefore, eligible to receive

 No-Fault Benefits pursuant to Insurance Law § 5102(a)(1) and 11 NYCRR § 65-3.16(a)(12), when

 in fact Defendants engaged in illegal fee-splitting, kickback, and referral arrangements; and (iii)

 in every claim, the representation that the billed-for services were medically necessary and

 properly billed in accordance with the Fee Schedule, when in fact the billing codes used for the

 Fraudulent Services by Defendants misrepresented and exaggerated the level and type of services

 that purportedly were provided in order to inflate the charges submitted to GEICO.

        186.    Dinesh Verma Medical, Dr. Verma, and the Management Defendants intentionally

 made the above-described false and fraudulent statements and concealed material facts in a




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 calculated effort to induce GEICO to pay charges submitted through Dinesh Verma Medical that

 were not compensable under the No-Fault Laws.

           187.   GEICO has been injured in its business and property by reason of the above-

 described conduct in that it has paid at least $173,000.00 pursuant to the fraudulent bills submitted

 by the Defendants through Dinesh Verma Medical.

           188.   Defendants’ extensive fraudulent conduct demonstrates a high degree of moral

 turpitude and wanton dishonesty that entitles GEICO to recover punitive damages.

           189.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

 punitive damages, together with interest and costs, and any other relief the Court deems just and

 proper.

                                       FIFTH CAUSE OF ACTION
                  Against Dinesh Verma Medical, Dr. Verma and the Management Defendants
                                      (Unjust Enrichment)

           190.   GEICO incorporates, as though fully set forth herein, each and every allegation in

 the paragraphs set forth above.

           191.   As set forth above, Dinesh Verma Medical, Dr. Verma and the Management

 Defendants have engaged in improper, unlawful, and/or unjust acts, all to the harm and detriment

 of GEICO.

           192.   When GEICO paid the bills and charges submitted by or on behalf of Dinesh Verma

 Medical for No-Fault Benefits, it reasonably believed that it was legally obligated to make such

 payments based on the Defendants’ improper, unlawful, and/or unjust acts.

           193.   Dinesh Verma Medical, Dr. Verma, and the Management Defendants have been

 enriched at GEICO’s expense by GEICO’s payments, which constituted a benefit that Defendants

 voluntarily accepted notwithstanding their improper, unlawful, and unjust billing scheme.




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        194.    Defendants’ retention of GEICO’s payments violates fundamental principles of

 justice, equity and good conscience.

        195.    By reason of the above, Defendants have been unjustly enriched in an amount to be

 determined at trial, but in no event less than $173,000.00.

                               AS AND FOR A SIXTH CAUSE OF ACTION
                                   Against the Management Defendants
                                      (Aiding and Abetting Fraud)

        196.    GEICO incorporates, as though fully set forth herein, each and every allegation set

 forth above.

        197.    The Management Defendants knowingly aided and abetted the fraudulent scheme

 that was perpetrated on GEICO by Dr. Verma and Dinesh Verma Medical.

        198.    The acts of the Management Defendants in furtherance of the fraudulent scheme

 included, among other things, knowingly assisting with the operation of Dinesh Verma Medical and

 the provision of medically unnecessary services, engaging in illegal financial and kickback

 arrangements to obtain patient referrals for Dinesh Verma Medical, and spearheading the pre-

 determined fraudulent protocols used to maximize profits without regard to genuine patient care.

        199.    The conduct of the Management Defendants in furtherance of the fraudulent scheme

 was significant and material. The conduct of the Management Defendants was a necessary part of

 and was critical to the success of the fraudulent scheme because, without their actions, there would

 have been no opportunity for Dr. Verma or Dinesh Verma Medical to obtain referrals of patients at

 the No-Fault Clinics, subject those patients to medically unnecessary services, and obtain payment

 from GEICO and other insurers for the Fraudulent Services.

        200.    The Management Defendants aided and abetted the fraudulent scheme in a calculated

 effort to induce GEICO into paying charges to Dr. Verma and Dinesh Verma Medical for medically




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 unnecessary, illusory, and otherwise unreimbursable Fraudulent Services because they sought to

 continue profiting through the fraudulent scheme.

        201.    The conduct of the Management Defendants caused GEICO to pay more than

 $149,000.00 pursuant to the fraudulent bills submitted through Dinesh Verma Medical.

        202.    This extensive fraudulent conduct demonstrates a high degree of moral turpitude and

 wanton dishonesty that entitles GEICO to recover punitive damages.

        203.    Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory damages

 of at least $173,000.00, along with punitive damages, interest and costs, and any other relief the

 Court deems just and proper.

                                         JURY DEMAND

        204.    Pursuant to Federal Rule of Civil Procedure 38(b), GEICO demands a trial by jury.

        WHEREFORE, Plaintiffs Government Employees Insurance Company, GEICO

 Indemnity Company, GEICO General Insurance Company and GEICO Casualty Company

 demand that a Judgment be entered in their favor:

        A.      On the First Cause of Action against all Defendants, a declaration pursuant to the

 Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, that the Defendants have no right to

 receive payment for any pending bills submitted to GEICO;

        B.      On the Second Cause of Action against Dr. Verma and the Management

 Defendants, compensatory damages in favor of GEICO in an amount to be determined at trial but

 in excess of $173,000.00 together with treble damages, costs, and reasonable attorneys’ fees

 pursuant to 18 U.S.C. § 1964(c) plus interest;

        C.      On the Third Cause of Action against Dr. Verma and the Management Defendants,

 compensatory damages in favor of GEICO an amount to be determined at trial but in excess of




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 $173,000.00 together with treble damages, costs, and reasonable attorneys’ fees pursuant to 18

 U.S.C. § 1964(c) plus interest;

        D.      On the Fourth Cause of Action against Dinesh Verma Medical, Dr. Verma, and the

 Management Defendants, compensatory damages in favor of GEICO an amount to be determined

 at trial but in excess of $173,000.00 together with punitive damages, costs, interest and such other

 and further relief as this Court deems just and proper;

        E.      On the Fifth Cause of Action against Dinesh Verma Medical, Dr. Verma, and the

 Management Defendants, more than $173,000.00 for unjust enrichment, plus costs and interest and

 such other and further relief as this Court deems just and proper; and

        F.      On the Sixth Cause of Action against the Management Defendants, compensatory

 damages in favor of GEICO in an amount to be determined at trial but in excess of $173,000.00,

 together with punitive damages, costs, interest, and such other and further relief as this Court

 deems just and proper.

 Dated: May 17, 2022
                                                      RIVKIN RADLER LLP

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